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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------X
 BERNARD WILKERSON,

                                  Plaintiff,
                                                            19-cv-09340 (LJL)
                 - against -
                                                            JOINT PRETRIAL ORDER
 METROPOLITAN TRANSPORTATION
 AUTHORITY, NEW YORK CITY TRANSIT
 AUTHORITY, and RICARDO JOHN,
 individually,

                                  Defendants.

 -------------------------------------------------------X

Honorable Lewis J. Liman, United States District Judge:

        The parties having conferred among themselves and with the Court pursuant to

Federal Rule of Civil Procedure 16 and pursuant to this Court’s Individual Practices in

Civil Cases, the following statements, directions, and agreements are adopted as the Pretrial

Order herein.:

i.       Caption:

            Bernard Wilkerson v. Metropolitan Transportation Authority, New York City

            Transit Authority, and Ricardo John, Individually, 19-cv-09340 (LJL)


ii.     Parties and Counsel:

            a. Plaintiff:

                 Shawn Clark, Esq.
                 Melissa Vo, Esq.
                 Phillips and Associations, Attorneys at Law, PLLC
                 45 Broadway, Suite 430
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              b. Defendants:

                 Steve S. Efron
                 Renee L. Cyr
                 Steve S. Efron, Attorney at Law
                 237 West 35th Street
                 Suite 1502
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                 T: (212) 867-1067
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                        rlcyr@aol.com

iii.       Jurisdiction:

Plaintiff:

        Jurisdiction of this Court is proper under 42 U.S.C. §2000e-5(f)(3), and 28 U.S.C.

§§1331 and 1343. The Court has supplemental jurisdiction over the claims of Plaintiff

brought under state law pursuant to 28 U.S.C. §1367. Venue is proper in the Southern

District of New York pursuant to 28 U.S.C. §1391(b), as the acts complained of occurred

therein.

Defendants:

        Defendants acknowledge that the Court has subject matter jurisdiction.

iv.     Claims and Defenses:

Plaintiff’s Claims:

        This is an action for damages brought by Plaintiff Bernard Wilkerson against

Defendants New York City Transit Authority (“Transit”) and Ricardo John. Plaintiff

complains pursuant to Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§

2000e to 2000e-17 (amended in 1972, 1978 and by the Civil Rights Act of 1991, Pub. L.



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No. 102-166 (“Title VII”)) the New York State Human Rights Law, New York State

Executive Law §290, et. seq. (“NYSHRL”) and the New York City Human Rights Law,

New York City Administrative Code§§ 8-107, et seq., and seeks damages to redress the

injuries Plaintiff has suffered as a result of his employer’s refusal to reasonably

accommodate his religion. Pursuant to the Court’s December 3, 2021 Opinion and Order,

no other claims previously asserted for discrimination or retaliation are to be tried.

       1) Failure to Accommodate Claims Under Title VII, NYSHRL, and the NYCHRL

       Plaintiff complains of Defendant’s refusal to make reasonable accommodations for

his religious practices. Under Title VII, “it is ‘an unlawful employment practice . . . for an

employer not to make reasonable accommodations, short of undue hardship, for the

religious practices of his employees and prospective employees.’” Baker v. The Home

Depot, 445 F.3d 541, 546 (2d Cir. 2006) (quoting Trans World Airlines Inc. v. Hardison,

432 U.S. 63, 74 (1977)). Defendants Metropolitan Transportation Authority (“MTA”),

New York City Transit Authority (“Transit”) engaged in unlawful employment practices

prohibited by 42 U.S.C. §2000e et seq. by refusing to accommodate Plaintiff’s religious

practices.

       2) Aiding & Abetting Liability Under New York State Executive Law & New

             York City Human Rights Law

       New York State Executive Law §296(6) provides that it shall be an unlawful

discriminatory practice: “For any person to aid, abet, incite compel or coerce the doing of

any acts forbidden under this article, or attempt to do so.” Defendant Ricardo John engaged

in an unlawful discriminatory practice in violation of New York State Executive Law




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§296(6) by aiding, abetting, inciting, compelling and coercing the discriminatory conduct

against Plaintiff.

Defendants’ Defenses:

        Transit’s enforcement of its respirator policies and procedures, requiring that all

conductors in the construction flagging division be clean-shaven so they can be fitted with

a respirator that creates a tight seal between the face mask and face, was necessary for the

safety of employees and to be in compliance with the safety standards of regulatory

authorities, including the New York State Department of Labor. Plaintiff’s request that he

be excused from these requirements as an accommodation for his religious practice of

wearing a beard, or that he be permitted to wear a loose-fitting respirator that was

determined to be ineffective against toxic fumes emitted by diesel engines, were not even

facially reasonable and would have caused undue hardship to Transit. See Bey v. City of

New York, 999 F.3d 157 (2d Cir. 2021). Plaintiff suggested no alternative accommodation

at that time. Rather than engage with Transit in an interactive process to determine whether

a feasible alternative existed, plaintiff chose to file grievances and complaints in

administrative forums – the EEOC and PERB. Plaintiff is now claiming that he could have

continued to work as a construction flagger with a different accommodation, one that he

never sought previously. That proposed accommodation would have created an undue

hardship that compromised Transit’s operations.

        Transit promptly accommodated plaintiff by transferring him to a vacant position

as a platform conductor, which was an assignment within plaintiff’s civil service

conductor’s title. Transit was prohibited by N.Y. Civil Service Law § 70 from transferring




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plaintiff to a position outside the conductor’s title and plaintiff made no request for such a

position.

         Ricardo John cannot be held liable for aiding and abetting an unlawful failure to

accommodate when he played no role in determining whether an accommodation could be

granted and when no unlawful failure to accommodate has occurred in the first instance.

v.       Jury or Bench Trial:

         Trial is anticipated to take approximately four to five days and is to be tried with a

jury.

vi.      Proposed Voir Dire Statement:

Plaintiff’s Proposed Voir Dire Statement

         Plaintiff Bernard Wilkerson alleges that the Defendants failed to accommodate his

religious practices in violation of federal and state law during his employment. Under Title

VII, the New York State Human Rights Law, and the New York City Human Rights Law,

an employer cannot discriminate against any employee on the basis of the employee’s

religious practices unless the employer shows that the employee’s religious needs cannot

be reasonably accommodated without undue hardship on the conduct of the employer’s

business.

         Defendants deny that they violated Mr. Wilkerson’s rights. Defendants allege that

accommodating Mr. Wilkerson would have caused an undue burden to Transit’s

operations.

Defendants’ Proposed Voir Dire Statement




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        Plaintiff Bernard Wilkerson alleges that the Defendants failed to accommodate his

religious practices in violation of federal and state law during his employment. Under Title

VII, the New York State Human Rights Law, and the New York City Human Rights Law,

an employer cannot discriminate against any employee on the basis of the employee’s

religious practices unless the employer shows that the employee’s religious needs cannot

be reasonably accommodated without undue hardship on the conduct of the employer’s

business.

        Defendants deny that they violated Mr. Wilkerson’s rights. Defendants provided

plaintiff with a reasonable accommodation by transferring him to a vacant position as a

platform conductor. The religious accommodation plaintiff initially identified would have

posed serious hazards to his safety and health, and he suggested no alternative

accommodation. Moreover, the accommodation Mr. Wilkerson is now claiming he could

have been given would have caused an undue hardship to Transit's operations.

vii.    Likely People, Places, & Institutions:

        The following are people, places, and institutions that are likely to be mentioned

during the course of trial:

            1. Bernard Wilkerson;

            2. Ricardo John;

            3. David Franceschini;

            4. Mikh’ail Abdullah.

            5. Glenroy Walcott;

            6. Doreen Boatswain;

            7. Demetrius Crichlow;

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              8. Valerie Dabas;

              9. Baimusa Kamara;

              10. New York City Transit Authority (Transit);

              11. Operations Support and Safety Division, Department of Subways;

              12. New York State Department of Labor (DOL);

              13. Occupational Safety and Health Administration (OSHA);

              14. Public Employee Safety and Health Bureau (PESH);

              15. Transport Workers’ Union, Local 100 (TWU).

              16. Public Employment Relations Board (PERB)

viii.    Consent to Trial by Magistrate Judge

         All parties have not consented to trial by a magistrate judge.

ix.      Witnesses:

         Plaintiffs’ Prospective Witnesses

         1.      Bernard Wilkerson, in person.      Will testify as to his claims and his

                 employment with the Defendants.

         2.      Minnie Davis, in person.      Will testify as to her experience as Mr.

                 Wilkerson’s supervisor and employment in construction flagging.

         3.      Ricardo John, adverse witness in person. Anticipated to testify as to his

                 employment with Defendants and interactions with Plaintiff.

         4.      David Franceschini, adverse witness in person. Anticipated to testify as to

                 his employment with Defendants and Defendants’ policies.



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       Plaintiff reserves the right to call records custodians, if necessary, to authenticate

or otherwise lay the foundation for admission of any evidence identified for trial purposes.

Plaintiff reserves the right to call additional witnesses to rebut defendants’ witnesses’

testimony, and to use deposition testimony in accordance with the Federal Rules of

Evidence and Federal Rules of Civil Procedure. Plaintiff reserves the right to call

Defendants’ witnesses as adverse witnesses in the event they choose not to testify.

       Defendants’ Prospective Witnesses

       1.      David Franceschini, Senior Director of Collective Bargaining, in person,

               will offer testimony concerning the terms and conditions of the collective

               bargaining agreement, the seniority system, the contract grievances filed in

               reference to respirator requirements, procedures for requesting a religious

               accommodation, limitations on accommodations, titles within Transit and

               civil service rules limiting transfers from one title to another.

       2.      Ricardo John, a defendant in the case, in person, will offer testimony

               concerning his role in supervising the construction flagging division, the

               nature of the projects supported by construction flaggers, the nature of the

               work performed by construction flaggers, the application of seniority to job

               assignments, the need to reassign flaggers due to project cancellations, the

               instructions he received concerning respirators upon appointment to the

               position, the use of respirators in construction flagging, and interactions

               with the plaintiff.

       3.      Glenroy Walcott, General Superintendent, Transportation Operations, will

               testify concerning the nature of construction projects, the staffing of


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       projects with construction flaggers, the number of available flaggers as

       affected by budgetary constraints and other factors, the prioritization of

       projects, the assignment and reassignment of flaggers as dependent on

       cancellations, the reasons for cancellations, and the operational and

       collective bargaining hurdles to assigning flaggers only to projects not

       requiring use of a respirator.

 4.    Demetrius Crichlow, Senior Vice President, Department of Subways, in

       person, will testify concerning the scope of capital projects pending in and

       around 2018, the shortage of flagging personnel to staff projects and the

       resulting delays and the safety and operational factors necessitating the

       enforcement of respirator policies from 2018 through the present.

 5.    Doreen Boatswain, Director, Environmental Protection and Industrial

       Hygiene, in person, will testify (subject to/as limited by the Court’s

       evidentiary rulings on the relevance of her testimony in light of the Court’s

       disposition of defendants’ summary judgment motion) concerning the

       health and safety hazards caused by an employee’s exposure to diesel

       engine fumes and other hazards, the availability of respirators capable of

       reducing/eliminating the hazards, the ineffectiveness of the respirator

       Wilkerson allegedly used, and the need to comply with safety standards

       imposed by regulatory authorities.




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x.      Deposition Testimony:

Plaintiff’s Deposition Designations:

Plaintiff does not intend to admit deposition testimony as a substitute for direct testimony

at trial, except in the event of unavailability of witness or for impeachment purposes.

Defendants’ Deposition Designations:

From the Deposition of Bernard Wilkerson:

        Page 32 line 3 to page 33 line 9

        Page 42 line 5 to page 43 line 6

        Page 43 line 15 to line 19

        Page 44 line 15 to page 45 line 10

        Page 93 line 9 to page 94 line 14

        Page 96 line 13 to page 97 line 16

        Page 99 line 23 to page 102 line 5

        Page 107 line 14 to page 108 line 5

        Page 111 line 3 to page 112 line 3

        Page 114 line 5 to line 21

        Page 115 line 5 to line 14

Plaintiff objects to Defendants’ deposition designations; Plaintiff will testify in-person at

trial; to the extent such designations are permitted Plaintiff asks this Court to admit portions

of the deposition transcript "that in fairness should be considered with the part[s]

introduced." Fed. R. Civ. P. 32(a)(6)).




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xi.     Exhibits

Plaintiff’s Exhibits

        Plaintiff reserves the right to offer additional exhibits, including but not limited to

deposition testimony transcripts, for the purpose of impeachment. Plaintiff reserves the

right to use any relevant and admissible exhibit identified by the Defendants in the

Defendants’ exhibits lists and not objected to herein, whether or not the Defendants

actually offer such exhibit at the time of trial. Plaintiff reserves the right to object to any of

Defendants’ exhibits which have not been provided to the Plaintiff.

 Exhibit     Description                                       Bates Number(s)       Objection



 P-1         Letters from Imam                                 Plaintiff
                                                               Confidential 144

 P-2         Respirator Protection Program Attendance          Plaintiff
             Records                                           Confidential 145,
                                                               146, 148

 P-3         Plaintiff Pay Rate Report                         MTA 78

 P-4         New York City Transit Memorandum                  MTA 00545

 P-5         MTA Religious Accommodation Policy &              MTA 00046-
             Procedure                                         00051

 P-6         MTA Respiratory Protection Policy                 MTA 00052-
             Program Manual                                    00077

 P-7         7.18.2013 Email                                   MTA 00433-            Rule 401/403
                                                               00434

 P-8         Train Operator Miscellaneous Work Trains          MTA 00416-            Rule 401/403
             Work Program                                      00431




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Defendants’ Exhibits

 Exhibit   Description                                Bates Number(s)     Objection



 A         PERB Improper Practice Charge              MTA 519-21

 B         Bulletin R156 Diesel Exhaust               MTA 348

 C         Safety Advisory                            MTA 346

 D         Construction Flagging Extra List           MTA 342

 E         Memorandum 11/16/2015                      MTA 311-13

 F         DOL Notice of Violation                    MTA 307-09          FRE Rule 401/403

 G         Wilkerson’s Email to Transit EEO           MTA 242-44

 H         Wilkerson Email Submitting Grievance       MTA 236-41
           Decision to EEO

 I         Religious Accommodation Policy             MTA 46-48

 J         Safety Advisory PAPR Prohibited            MTA 12

 K         Boatswain Email Re: Honeywell Statement    MTA 1-2             FRE Rule 401/403

 L         Contract Interpretation Grievance          MTA No.             Pending upon
           Respirator Standard                        Illegible Will be   Identification of
                                                      Provided            Document

 M         Transit EEO Letter Closing Investigation   MTA No.             Pending upon
                                                      Illegible Will be   Identification of
                                                      Provided            Document

 N         EEO Complaint                              MTA 228-29

 O         Respiratory Protect Program Issued         MTA 52-77
           3/5/2014

 P         Safety Advisory Respirators and Facial     MTA 168
           Hair

 Q         Service Delivery Bulletin 6/27/2019        MTA 169-70



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    R         Personal Protective Equipment Policy                   MTA 180-99
              Issued 2/20/09

    S         EEOC Charge                                            MTA 200-06

    T         Stipulation and Agreement Re: Contract                 MTA 208-09
              Grievance

    U         Stipulation and Agreement Re: Contract                 MTA 214-15
              Grievance

    V         CBA, Relevant Portions                                 MTA 376-4021             FRE Rule 401/403

    W         Hours and Earnings Reports for B.                      P Confidential
              Wilkerson                                              153, 179, 205,
                                                                     224, 244

    X         Job Detail Summary for B. Wilkerson                    MTA 555-560              Documents
                                                                                              disclosed after
                                                                                              discovery period

    Y         TWU Rate Chart Book excerpts for                       MTA 561-62               Documents
              conductors                                                                      disclosed after
                                                                                              discovery period



xii.     Statement of Damages Claimed:


         At trial, Plaintiff will seek lost wages of approximately $269,193.49, which

represent the differential between his typical wages as a construction flagger and the wages

he earned in his position following his removal from construction flagging including

potential front pay. Plaintiff will seek compensatory damages for emotional distress in an

amount to be determined at trial by the jury. Plaintiff will also seek punitive damages in

an amount to be determined at trial by the jury. Finally, if successful, Plaintiff will seek all

attorneys’ fees and costs incurred.



1
 Defendants reserve the right to introduce other sections of the CBA if necessary to provide context and
upon authentication by a witness with knowledge of the agreement.

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xiii.    Statement Regarding Unanimous Verdict:

         The parties do not consent to less than a unanimous verdict at this time.


SO ORDERED:


Dated: New York, New York

         August 19, 2022



                                               __________________________________
                                                     HON. LEWIS J. LIMAN
                                                     United States District Judge




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